             Case 16-00741              Doc 5        Filed 01/10/17       Entered 01/10/17 14:58:27                Desc Main
                                                        Document          Page 1 of 1
                                                           AFFIDAVIT OF SERVICE

 Case:                        Court:                                     County:                Job:
 16-00741                     Kane Courthouse                            Kane, IL               1155987 (16-00741)
 Plaintiff / Petitioner:                                                 Defendant / Respondent:
 Bettye Ashcraft                                                         Stuart Graeme Harman
 Received by:                                                            For:
 NIS Consulting Group                                                    Whiteman Borden LLC
 To be served upon:
 Stuart Graeme Hardman

I, Terrence Holley, do hereby certify that I am a competent adult over the age of 18, not a party to this suit, that I am authorized to perform
service in Illinois, am a registered employee of NIS (Illinois License Number 117-001012). That I made service with the documents, listed
below, certified to be such for the attorney for the Plaintiff.

Under penalties as provided by law pursuant to section 1-109 of the Illinois code of civil procedure, the undersigned certifies that the
statements set forth in this instrument are true and correct, except as to such matters therein stated to be on information and belief and as
to such matters the undersigned certifies as aforesaid that he verily believes the same to be true.

Recipient Name / Address:       Stuart Graeme Hardman, 414 40th Street, Downers Grove, IL
Manner of Service:              Personal/Individual, Dec 31, 2016, 11:19 am CST
Documents:                      Summons and Complaint to Determine Non-Dischargeability of Debt and to Dismiss Bankruptcy (Received
                                Dec 19, 2016 at 2:37pm CST)

Additional Comments:
1) Successful Attempt: Dec 31, 2016, 11:19 am CST at 414 40th Street, Downers Grove, IL received by Stuart Graeme Hardman. Age: 40's;
Ethnicity: Caucasian; Gender: Male; Weight: slim build; Height: 6'2"; Hair: Brown;




                                              01/03/2017
Terrence Holley                               Date
117-001012

NIS Consulting Group
4350 DiPaolo Center Suite H
Glenview, IL 60025
8478407969
